     Case 3:17-cv-01939-CAB-JMA Document 6 Filed 11/09/17 PageID.27 Page 1 of 2



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 6                    UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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 8   SECURITIES AND EXCHANGE                      Case No.: 3:17-cv-1939-CAB-JMA
     COMMISSION,
 9            Petitioner,
                  v.                              FINAL JUDGMENT
10
11   JASON D. HUNTLEY,
12               Respondent.
13
14         THIS MATTER comes before the Court on the Application of the Securities
15   and Exchange Commission (“Commission”) to enforce compliance by Jason D.
16   Huntley (“Huntley”) with the Order Instituting Administrative and Cease and
17   Desist Proceedings Pursuant to Sections 203(f) and 203(k) of the Investment
18   Advisers Act and Section 9(b) of the Investment Company Act, Making Findings,
19   and Imposing Remedial Sanctions and a Cease and desist Order entered on consent
20   against Huntley on July 31, 2014, entitled In the Matter of Jason D. Huntley,
21   Admin. Proc. File No. 3-8796, requiring Huntley to pay a civil penalty of $100,000
22   plus outstanding interest pursuant to 31 U.S.C. § 3717, and based upon the
23   Stipulation to Enter Judgment Filed herein, the Court finds that Respondent
24   Huntley has consented to entry of a Judgment, and it appearing to the Court that
25   such a Judgment should enter, it is hereby ORDERED, ADJUDGED AND
26   DECREED that the Commission Order is enforced.
27         It is further ORDERED, ADJUDGED AND DECREED that Jason D.
28   Huntley is liable to pay a civil penalty of $100,000 (less credits for any payments)

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     Case 3:17-cv-01939-CAB-JMA Document 6 Filed 11/09/17 PageID.28 Page 2 of 2



 1   plus outstanding interest pursuant to 31 U.S.C. § 3717 to the United States
 2   Securities and Exchange Commission.
 3         It is further ORDERED, ADJUDGED AND DECREED that the amounts
 4   awarded shall be subject to post-judgment interest, pursuant to § 28 U.S.C. 1961,
 5   from the date of this judgment until the date all money has been paid.
 6         Huntley may transmit payment electronically to the Commission, which will
 7   provide detailed ACH transfer/Fedwire instructions upon request.         Payment may
 8   also be made directly from a bank account via Pay.gov through the SEC website at
 9   http://www.sec.gov/about/offices/ofm.htm.     Huntley may also pay by certified
10   check, bank cashier’s check, or United States postal money order payable to the
11   Securities and Exchange Commission, which shall be delivered or mailed to
12         Enterprise Services Center
13         Accounts Receivable Branch
           6500 South MacArthur Boulevard
14         Oklahoma City, OK 73169
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16   and shall be accompanied by a letter identifying the case title, civil action number,
17   and name of this Court; Huntley as Respondent in this action; and specifying that
18   payment is made pursuant to this Final Judgment.
19         It is further ORDERED, ADJUDGED AND DECREED that the Court
20   shall retain jurisdiction over this action for all purposes, including to implement
21   and enforce the terms of this Final Judgment; and all other orders and decrees
22   which may have been or may be entered in this case, and to grant such relief as this
23   Court may deem necessary and just.
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     Dated: November 9, 2017
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